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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

; x
UNITED STATES OF AMERICA and THE
STATE OF NEW YORK ex rel.
LUCILLE ABRAHAMSEN,

Plaintiff,

Vv. - STIPULATION AND ORDER
OF SETTLEMENT AND DISMISSAL
HUDSON VALLEY HEMATOLOGY-
ONCOLOGY ASSOCIATES, R.L.L.P.
RAM R. KANCHERLA; PONCIANO L. . 14 Civ. 2653 (CME)
REYES; MICHAEL J. MARESCA; LEV
DAVIDSON; JULIA A. SCHAEFER-
CUTILLO; JEFFREY A. STEWARD:
GERALD A. COLVIN; TAUSEEF AHMED;
JOHN C. NELSON; CARMELLA A,
PUCCIO; KAREN P, SEITER; DELONG
LIU; ASIM AIJAZ; SHEETAL
SHRIMANKER,

Defendants,

UNITED STATES OF AMERICA,
Plaintiff-Intervenor,
ve

HUDSON VALLEY HEMATOLOGY-
ONCOLOGY ASSOCIATES, R.L.L-P.,

Defendant.
x

WHEREAS, this Stipulation and Order of Settlement and Dismissal (the “Stipulation”) is
entered into by and among the United States of America, by its attorney, Preet Bharara, United
States Attorney for the Southern District of New York, and on behalf of the Office of Inspector

General of the United States Department of Health and Human Services “OIG-HHS”)

 
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(collectively, the “United States” or the “Government”), Defendant Hudson Valley Hematology
Oncology Associates, R.L.L.P, (“Hudson Valley”), through its authorized representative, as well
ag Relator Lucille Abrahamsen (the “Relator”), through her authorized representative;

WHEREAS, Hudson Valley is a hematology and oncology medical practice, registered as
a limited liability partnership, with offices located in Poughkeepsie, Carmel, Yorktown Heights,
Middletown and Hawthorne, New York;

WHEREAS, Hudson Valley provides services to individuals with cancer and blood
disorders, including individuals eligible to receive benefits though the Medicare Program, Title
XVIII of the Social Security Act, 42 U.S.C. §§ 1395 ef seg. (“Medicare”), and the Medicaid
Program, 42 U.S.C, §§ 1396 ef seg, (“Medicaid”);

WHEREAS, on or about April 14, 2014, Relator filed a complaint (“Relator’s
Complaint”) in the United States District Court for the Southern District of New York (the
“Court”) pursuant to the gui fam provisions of the False Claims Act, 31 U.S.C. § 3730(b)
(“FGA”), on behalf of the United States as well as the State of New York (“New York”),
alleging inter alia, that Hudson Valfey routinely waived copayments in violation of the Anti- |
Kickback Statute, 42 U.S.C, § 1320(a)-7b(b) (‘AKS”), and falsely charged Medicare and
Medicaid for services that it did not render;

WHEREAS, the United States has intervened in the action as against Hudson Valley and
filed a Complaint-in-Intervention of the United States of America (the “Federal Complaint”);

WHEREAS, the Federal Complaint alleges that from approximately June 2010 through
June 2615 (the “Covered Time Period”), Hudson Valley waived copayments without basis and

_ submitted false claims for services provided to individuals eligible to receive benefits through

Medicare and Medicaid. During the Covered Time Period, Hudson Valley routinely waived
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copayments for Current Procedural Terminology codes (“billing codes”) 99211-99215, which is
the amount the Medicare beneficiary was required to pay for services rendered, without an
individuatized determination of financial hardship or exhaustion of reasonable collection efforts.
In addition, Hudson Valley failed to comply with Medicare and Medicaid rules and regulations,
specifically by submitting claims for billing codes 99211 and 99212 to Medicare and Medicaid
for reimbursement although the medical records contain no documentation reflecting that
services were provided for those claims and/or that the claims were medically necessary. The
conduct alleged in the Federal Complaint shall be defined as the “Covered Conduct.”

WHEREAS, the United States alleges that Hudson Valley is liable for damages and civil
penalties for conduct under the FCA;

WHEREAS, the United States, Hudson Valley, and the Relator (collectively, the
“Parties*) have reached a full and final mutually agreeable resolution of all claims asserted in the -
Relator’s Complaint and Federal Complaint;

NOW, THEREFORE, upon the Parties’ agreement, IT 1S HEREBY ORDERED that:

TERMS AND CONDITIONS

l, The Parties consent to this Court’s exercise of subject matter jurisdiction over tltis
action and personal jurisdiction over each of them.

2. Hudson Valley hereby admits, acknowledges as true, and accepts responsibility
for the following conduct:

a During the Covered Time Period, Hudson Valley routinely waived Medicare

beneficiaries’ copayments applicable to CPT codes 99211-99215, without an
individualized documented determination of financial hardship or exhaustion of

reasonable collection efforts:
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3,

During the Covered Time Period, although Hudson Valley routinely waived
Medicare beneficiaries’ copayments applicable te CPT codes 99211-99215, it
billed Medicare for an amount which included the amount of the waived
copayments, resulting in higher reimbursement amounts from Medicare than
Hudson Valley was entitled to; |

During the Covered Time Period, Hudson Valley overbilled Medicare and
Medicaid by biiling for evaluation and management services (CPT codes 99211
or 99212), in addition to billing for routine procedures (such as chemotherapy,
injections or venipunctures) on the sare date, even though Hudson Valley had
not documented that it actually provided any significant, separately identifiable
evaluation and management services to the beneficiaries;

During the Covered Time Period, Hudson Valley billed Medicare and Medicaid
for evaluation and management services (CPT code 99211 and 99212), without
documenting in the medical record that those services were medically necessary
and/or that those services were actually performed.

Hudson Valley shall pay to the United States a total of five million three hundred

and fourteen thousand dollars ($5,314,000.00) (the “Settlement Amount”), Hudson Valley shall

pay the Settlement Amount within sixty (60) business days after the Effective Date (defined

below in paragraph 30), plus interest, which shall be compounded annually at the rate of 1.75%

accruing from July 21, 2016, to the date of payment (“Settlement Amount”. The payment shall

be made in accordance with instructions to be provided by the Financial Litigation Unit of the

United States Attorney's Office for the Southern District of New York.

 
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4, Hudson Valley agrees to cooperate fully and truthfully with the United States’
investigation of individuals not released in this Stipulation. Upon reasonable notice, Hudson
Valley shail encourage, and agree not to impair, the cooperation of its directors, officers, and
employees, and shall use its best efforts to make availabie, and encourage, the cooperation of
former directors, officers, and employees for interviews and testimony, consistent with the rights
and privileges of all such individuals, Hudson Valley further agrees to furnish to the United
States, upon request, complete and unredacted copies of all non-privileged documents, reports,
memoranda of interviews, and records in its possession, custody, or control concerning any
investigation related to the Covered Conduct that it has undertaken, or that has been performed
by another on its behalf.

5, Subject to the exceptions in Paragraph 8 (concerning excluded claims) below and
Paragraph £9 (concerning bankruptcy proceedings) below, and conditioned upon Hudson
Valley’s compliance of the terms of this Stipulation, including full payment of the Settlement
Amount as set forth in paragraph 3 above, the United States releases Hudson Valley from any
civil or administrative monetary claim the United States has for the Covered Conduct under the
FCA; the Civil Monetary Penalties Law, 42 U.S.C. § 1320a-7a; the Program Fraud Civil
Remedies Act, 31 U.S.C. §§ 3801-3812: and the common law theories of payment by mistake,
unjust enrichment and fraud. |

6. Subject to the exceptions in Paragraph 8 (concerning excluded claims) and
Paragraph 19 (concerning bankruptcy proceedings}, below, and conditioned upon Hudson
Vailey’s full payment of the Settlement Amount as set forth in paragraph 3 above, Relator, for
herself and for her heirs, successors, attorneys, agents, and assigns, releases Hudson Valley, its

agents, owners, emnplayees, successors, attorneys and assigns from any claim the relator has
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asserted, could have asserted, or may assert concerning the Covered Conduct and by reason of any

cause, matter, thing, fact, circumstance, event or agreement relating to or arising from the Relator’s

Complaint or the United States Complaint under the False Claims Act, 31 U.S.C. §§ 3729-3733, or the
common law theories of payment by mistake, negligence, unjust enrichment, and fraud provided,
however, that nothing in this Stipulation shall preclude Relator from seeking to recover her
expenses or attorney’s fees and costs from Hudson Valley, its owners, successors or assigns
pursuant to 31 U.S.C, § 3730(d).

7. In consideration of the obligations of Hudson Valley in this Agreement and the
Corporate Integrity Agreement (“CIA”), entered into between OLG-HHS and Hudson Valley,
and conditioned upon Hudson Valley’s full payment of the Settlement Amount, OIG-HHS
agrees to release and refrain from instituting, directing, or maintaining any administrative action
seeking exclusion from Medicare, Medicaid, and other Federal health care programs (as defined
in 42 U.S.C. § 1320a-7b(f)) against Hudson Valley under 42 U.S.C. § 1320a-7a (Civil Monetary
Penalties Law) or 42 U.S.C. § 1320a-7(b)(7) (permissive exclusion for fraud, kickbacks, and
other prohibited activities) for the Covered Conduct, except as reserved in this Paragraph and in
Paragraph 8 (concerning excluded claims), below. The OIG-HHS expressly reserves all rights to
comply with any statutory obligations to exclude Hudson Valley from Medicare, Medicaid, and
other Federal health care programs under 42 U.S.C. § 1320a-7(a) (mandatory exclusion) based
upon the Covered Conduct. Nothing in this Paragraph precludes the OIG-HHS fiom taking
action against entities or persons, or for conduct and practices, for which claims have been
reserved in Paragraph 8, below.

&. Notwithstanding the releases given in Paragraphs 5, 6 and 7 of this Stipulation, or
any other term of this Stipulation, the following claims of the United States are specifically

reserved and are not released by this Stipulation:
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a, Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

b. Any orlminal liability;

CG. Except as expressly stated herein, any civil or administrative lability,

including mandatory exclusion from Federal health care programs;
d. Any Hability to the United States (or its agencies) for any conduct other than the
Covered Conduct;

& Any liability based upon obligations created by this Stipulation; and

f The liability of individuals, including present and former officers, directors, and
employees of Hudson Valley.

9, Relator and her heirs, successors, attorneys, agents, and assigns shall not object to
this Stipulation but agree and confirm that this Stipulation is fair, adequate, and reasonable under
all the circurnstances, pursuant to 31 U.S.C, § 3730(c\(2)(B). Subject to any claims Relator
may have for her share of the Settlement Amount pursuant to the Stipulation and Order of
Settlement and Release between the Relator and the United States, Relator, for herself
individually, and her heirs, successors, attotneys, agents, and assigns fully and finally releases,
waives, and forever discharges the United States, its agencies, officers, agents, employees, and
servants, from any claims arising from the filing of the Relator’s Complaint or under 31 U.S.C. §
3730.

10. Wudson Valley and its owners fully and finally release the United States and its
agencies, employees, servants, and agents from any claims (including attorney’s fees, costs, and
expenses of every kind and however denominated} that Hudson Valley asserted, could have

asserted, or may assert in the future against the United States, its agencies, officers, agents,
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employees, and servants, related to the Covered Conduct and the United States’ investigation,
prosecution, and settlement thereof. |

11, Hudson Valley waives and shall not assert any defenses Hudson Valley may have
to any criminal prosecution or administrative action relating to the Covered Conduct that may be
based in whole or in part on a contention that, under the Double Jeopardy Clause in the Fifth
Amendment of the Constitution, or under the Excessive Fines Clause in the Eighth Amendment
of the Constitution, this Stipulation bars a remedy sought in such criminal! prosecution or
administrative action, Nothing in this paragraph or any other provision of this Stipulation
constitutes an agreement by the United States concerning the characterization of the Settlement
Amount for purposes of the Internal Revenue laws, Title 26 of the United States Code.

12. Jn consideration of the Relator’s execution of this Stipulation and Relator’s
releases as set forth in Paragraph 6, Hudson Valley, its agents, owners, employees, successors,
attorneys and assigns release the Relator, her heirs, attorneys, agents, successors, and assigns,
from any and all claims (including attorney’s fees, costs, and expenses of every kind and
however denominated) that Hudson Valley asserted, could have asserted, or may assert in the
future against the Relator, related to the Covered Conduct and the Relator’s investigation and
prosecution thereof,

13. The Settlement Amount shall not be decreased as a result of the denial of claims
for payment now being withheld from payment by any Medicare contractor (e.g., Medicare
Administrative Contractor, fiscal intermediary, carrier) or any state payer, related to the Covered
Conduct; and Hudson Valley agrees not to resubmit to any Medicare contractor or any state
payer any previously denied claims related to the Covered Conduct, agrees not to appeal any

such denials of claims, and agrees to withdraw any such pending appeals.
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14. Hudson Valley agrees to the following:

a. Unallowable Costs Defined: All costs (as defined in the Federal. Acquisition

Regulation, 48 C.F.R. § 31.205-47) incurred by or on behalf of Hudson Valley and

its present or former shareholders, officers, directors, employees, shareholders, and

agents in connection with:

i.

iti.

iv,

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the matters covered by this Stipulation;

the United States’ audit(s) and civil and/or criminal

investigation(s) of the matters covered by this Stipulation;

Hudson Valley’s investigation, defense, and corrective action
undertaken in response to the United States’ audit(s) and civil
and/or criminal investigation(s) in connection with the matters
covered by this Stipulation (including attorney’s fees);

the negotiation and performance of this Stipulation;

the payments Hudson Valley makes to the United States pursuant
to this Stipulation and any payments that Hudson Valley may make
to Relator, including costs and attorney's fees,

the negotiation of, and obligations undertaken pursuant to the CIA
to: (i) retain an independent review organization to perform annual
reviews as described in Section If of the CIA; and (ii) prepare and

submit reports to the OIG-HHS

are unallowable costs for government contracting purposes (hereinafter referred to as

Unallowable Costs).
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b. Future Treatment of Unallowable Costs: Unallowable Costs will be
separately determined and accounted for by Hudson Vailey, and Hudson
Valley shall not charge such Unaliowable Costs directly or indirectly to
any contract with the United States or any State Medicaid program, or
seck payment for such Unallowable Costs through any cost report, cost
statement, information statement, or payment request submitted by
Hudson Valley or any of its subsidiaries or affiliates to Medicare or
Medicaid.

c Treatment of Unailowable Costs Previously Submitted for Payment:
Within 90 days of the Effective Date of this Stipulation, Hudson Valley
shall identify to applicable Medicare fiscal carriers and/or contractor, and
Medicaid any Unallowable Costs included in payments previously sought
from the United States, and any State Medicaid program, including, but
not limited to, payments sought in any cost reports, cost statements,
information reports, or payment requests already submitted by Hudson
Valley or any of its subsidiaries or affiliates, and shall request, and agree,
that such cost reports, cost statements, information reports, or payment
requests, even if already settled, be adjusted to account for the effect of the
inclusion of the Unallowable Costs. Hudson Valley agrees that the
United States, at a minimum, shall be entitled to recoup from Hudson
Valley any overpayment plus applicable interest and penalties as a result
of the inclusion of such allowable Costs on previously-submitted requests

for payment.
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The United States, including the Department of Justice and/or the
' affected agencies, reserves its rights to audit, examine, or re-examine
Hudson Valley’s books and records and to disagree with any calculations
submitted by Hudson Valley or any of their subsidiaries or affiliates
regarding any Unallowable Costs included in payments previously sought
by Hudson Valley, or the effect of any such Unallowable Costs on the
amount of such payments.

15. Subject to the exceptions in Paragraph 8, in consideration of the obligations of
Hudson Valley in this Stipulation and conditioned upon Hudson Valley’s compliance with the
terms of this Stipulation, including timely and full payment of the Settlement Amount, the
Federal Complaint shall be deemed dismissed with prejudice and subject to the Relator’s right to
seek to recover attorney’s fees, costs and expenses from Hudson Valley, its owners, successors
or assigns pursuant to 31 U.S.C. § 3730(d), the Relator’s Complaint shail be deemed dismissed
with prejudice as to the Relator with respect to Hudson Valley and its owners, agents and
employees pursuant to 31 U.S.C. § 3730(d), and without prejudice as to the United States,
except with respect to Hudson Valley for the Covered Conduct; provided, however, that the
Court shall retain jurisdiction over this Stipulation and each Party to the extent the obligations
herein remain unsatisfied by that Party.

(6. Hudson Valley represents and warrants that it has reviewed its financial situation,
that it currently is solvent within the meaning of 11 U.S.C. §§ 547(6)(3) and548(a)(DB)Gi,
and reasonably believes that it shall remain solvent following payment to the United States of the
Settlement Amount. Further, the Parties warrant that, in evaluating whether to execute this

Stipulation, they (2) have intended that the mutual promises, covenants, and obligations set forth
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constitute a contemporaneous exchange for new value given to Hudson Valley, within the
meaning of 11 U.S.C. § 547(c)(/), and (b) conclude that these mutual promises, covenants, and
obligations do, in fact, constitute such a contemporaneous exchange, Further, the Parties warrant
that the mutual promises, covenants, and obligations set forth herein are intended to and do, in
fact, represent a reasonably equivalent exchange of value that is not intended to hinder, delay, or
defraud any entity to which Hudson Valley was or became indebted to on or after the date of this
transfer, within the meaning of 11 U.S.C. § 548(a)q1).

17. Hudson Valley shall be in default of this Stipulation ff it fails to make the
payment required in Paragraph 3. The United States will provide written notice of the default, to
be sent by first-class mail and email to the undersigned attorney for Hudson Valley at the below-
listed address and any new address of which notice is given. Hudson Valley shal! have an
opportunity to cure the default within seven (7) business days from date of receipt of the notice
of default. In the event that a default is not fully cured within seven (7) business days of the
receipt of notice of such default, the Settlement Amount shall be immediately due and payable,
and interest shall accrue at the rate of 12% per annum compounded annually on the rernaining
unpaid principal balance, beginning seven (7) business days after delivery of the notice of
default. |

In the event of an uncured default, Hudson Valley agrees to the entry of a consent
judgrnent in the form attached hereto as Exhibit A. Further, the United States, at its option, may:
(a) rescind this Stipulation and reinstate the Federal Complaint; (b) seek specific performance of
the Stipulation; (c) offset the remaining unpaid balance from any amounts due and owing to
Hudson Valley by any department, agency or agent of the United States at the time of default;

and/or (d)} exercise any other rights granted by law, or under the terms of this Stipulation, or
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recognizable at common law or in equity, Hudson Valley shall not contest any offset imposed or
any collection action undertaken by the United States pursuant to this paragraph, either
administratively or in any court. In addition, Hudson Valiey shall pay the United States all
reasonable costs of collection and enforcement under this paragraph, including attorney’s fees
and expenses. In the event that the United States opts to rescind this Stipulation pursuant to this
patagraph, Hudson Valley shall not plead, argue, or otherwise raise any defenses under the
theories of statute of limitations, laches, estoppel, or similar theories, to any civil or
administrative claims which relate to the Covered Conduct.

18. Any failure by the United States to insist upon the strict performance of any of the
provisions of this Stipulation shall not be deemed a waiver of any of the provisions hereof, and
the United States, notwithstanding that failure, shall have the right thereafter to insist upon strict
performance of any and all of the provisions of this Stipulation.

19. If Hudson Valley commences, or a third party commences, any case, proceeding,
or other action under any law relating to bankruptey, insoivency, reorganization, or relief of
debtors (a) seeking to have any order for relief of Hudson Valley’s debts, or seeking to
adjudicate Hudson Valley as bankrupt or insolvent; or (b) seeking appointment of a receiver,
trustee, custodian, or other similar official for Hudson Valley or for all or any substantial part of
Hudson Valley’s assets, Hudson Valley agree as follows:

a, Hudson Valley’s obligations under this Stipulation may not be avoided pursuant
to [1 U.S.C. § $47, and Hudson Valley shall not argue or otherwise take the
position in any such case, proceeding, or action that: (i) Hudson Valley’s
obligations under this Stipulation may be avoided under [1] U.S.C. § 547; (ii)

Hudson Valley was insolvent at the time this Stipulation was entered into; or (ii)
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the mutual promises, covenants, and obligations set forth in this Stipulation do not
constitute a contemporaneous exchange for new value given to Hudson Valley,

b, if Hudson Valley’ obligations under this Stipulation are aveided for any reason,
including, but not limited to, through the exercise of a trustee’s avoidance powers
under the Bankruptcy Code, the United States, at its sole option, may rescind the
releases in this Stipulation and bring any civil and/or administrative claim, action,
or proceeding against Hudson Valley for the claims that would otherwise be
covered by the releases provided in Paragraphs 4 and 5 above. Hudson Valley
agrees that (i) any such claims, actions, or proceedings brought by the
United States are not subject to an “automatic stay” pursuant to 11 U.S.C. §
362(a) as a result of the action, case, or proceedings described in the first clause
of this paragraph, and Hudson Valley sha]! not argue or otherwise contend that the
United States’ claims, actions, or proceedings are subject to an automatic stay;

- (ti) Hudson Valley shall not plead, argue, or otherwise raise any defenses under
the theories of statute of limitations, laches, estoppel, or similar theories, to any
such civil or administrative claims, actions, or proceeding that are brought by the
United States within 60 calendar days of written, notification to Hudson Vailey

| that the releases have been rescinded pursuant to this paragraph; and (iii) the
United States has a valid claim against Hudson Valley in the amount of
$5,314,000.00 plus penalties, and the United States may pursue its claim in the
case, action, or proceeding referenced in the first clause of this paragraph, as well

as in any other case, action, or proceeding.
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C. Hudson Valley acknowledges that its agreements in this paragraph are provided

in exchange for valuable consideration provided in this Stipulation.

20. Except as expressly provided to the contrary in this Stipulation, this Stipulation is
intended to be for the benefit of the Parties only, The Parties do not release any claims against
any other person or entity.

21. Except as set forth in Paragraph 6 above (which, among other things, preserves
Relator’s ability to seek attorney’s fees), each Party shall bear its own and its employees’ legal .
fees and other costs incurred in connection with this matter, including the preparation and
performance of this Stipulation.

22. Each party and signatory to this Stipulation represents that it freely and
voluntarily enters in to this Stipulation without any degree of duress or compulsion.

23, — This Stipulation is governed by the laws of the United States. The exclusive
jurisdiction and venue for any dispute relating to this Stipulation is the United States District
Court for the Southern Distriet of New York. For purposes of construing this Stipulation, this
Stipulation shall be deemed to have been drafted by all Parties to this Stipulation and shall not,
therefore, be construed against any Party for that reason in any subsequent dispute.

24, This Stipulation constitutes the complete agreement between the Parties. This
Stipulation may not be amended except by written consent of the Parties.

25. The undersigned counsei and other signatories represent and warrant that they are
fully authorized to execute this Stipulation on behalf of the persons and entities indicated below.

26. This Stiputation may be executed in counterparts, each of which constitutes'an
original and all of which constitute one and the same Stipulation, Facsimiles and/or PDFs of

signatures shal! constitute acceptable, binding signatures for purposes of this Stipulation.
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27, This Stipulation is binding on Hudson Valley and its successors, transferees,
heirs, and assigns,

28. ‘This Stipulation is binding on Relator and Relator’s successors, transterees, heirs,
and assigns.

29. The effective date of this Stipulation is the date upon which this Stipulation is

entered by this Court (the “Effective Date”).

 

Agreed to by:
THE UNITED STATES OF AMERICA
Dated: New York, New York Attorney for Plaintiff-intervenor
October] , 2016 United States of America
By: kyu Vie Eeddbax
RIRTI VAIDYA REDDY

Assistant United States Neooney
86 Chambers Street, 3 Floor
New York, New York 10007
Telephone No. (212) 637-2751
Facsimile No, (212) 637-2702
Kirti. Reddy @usdoj.gov

THE UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
OFFICE OF COUNSEL TO THE INSPECTOR GENERAL

 

Dated: oa Attorney for OIG-HAS
October [O, 2016
By: Ca poll, Ve
CISA M. RE

Assistant Inspector General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector General

U.S. Department of Health and Human Services
Cohen Building

330 Independence Avenue

Washington, DC 20201
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HUDSON VALLEY

Dated: New York, NY
October L7?, 2016
, By:
PSE
Dated: POU GS Ke G NY
Octaber_\7} 2016
By:

Attorney for Hudson Valley

Al Lede fez S,

ALFREDO F, MENDEZ, Esq.
Abrams, Fensterman, Fensterman, Eisman,
Formato, Ferrara & Wolf, LLP

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New York, New York 10017

Telephone No. (212) 279-9200

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AMendez@Abramsiaw.com

Defendant Hudson Valley

 
 
   

RAMAMOHANA R. KANCHERLA, M.D.

Title: Mosho-d Ag Or atoanan

puvifougl le ypsieny
ctober 77 _, 2016

Defendant Hudson Valley

By: piLlaal| I A Mb oer
ICHAEL LLO4ARESCA, M.D.

Title: rte

Date “a NY
October _ 1% 2016

By:

Defendant Hudson Valley

CIANO L, REYES, M.D.

Title: Be dhross
 

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Dated: ae NY
October TE, , 2016

Dated: Washington, D.C.
Oetober |-1, 2016

 

 

RELATOR .

Relator

ite fice —

 

 

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TBuschner@gbbilegal.com

 

  

Unitgd States District Judge

THE HONORABLE KENNETH M. KARAS

folla[|p

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x

UNITED STATES OF AMERICA and THE
STATE OF NEW YORK ex vel,
LUCILLE ABRAHAMSEN,

Plaintiff,

Y.
CONSENT JUDGMENT

HUDSON VALLEY HEMATOLOGY-
ONCOLOGY ASSOCIATES, R.L.L.P.;
RAM R. KANCHERLA; PONCIANO L, 14 Civ. 2653 (KMK)
REYES; MICHAEL J. MARESCA; LEV
DAVIDSON; JULIA A, SCHAEFER-
CUTILLO; JEFFREY A. STEWARD;
GERALD A. COLVIN; TAUSEEF AHMED;
JOHN C, NELSON; CARMELLA A,
PUCCIO; KAREN P. SEITER; DELONG
LIU; ASIM AIJAZ; SHEETAL
_ SHRIMANKER,

Defendants.

UNITED STATES OF AMERICA,
Plaintiff-Intervenor,
Vv,

HUDSON VALLEY HEMATOLOGY-
ONCOLOGY ASSOCIATES, R.L.L.P.,

Defendant.

 
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Upon the consent of the United States of America, Relator Lucille Abrahamson, and
- i .
Hudson Valley Hem atology Oncology Associates, RL.LP., (“Hudson Valley”), it is hereby
ORDERED, ADJUDGED, and DECREED: that the United States of America is |
awarded judgment in the amount of $5,314,000.00 as against Hudson Valley, as well as post-

judgment interest at the rate of 12% per annum compounded daily.

Apreed to by;
THE UNITED STATES OF AMERICA
Dated: New York, New York Attorney for Plaintif-intervenor
October if, 2016 United States of America

By: Kuch Ved kodol \
KIRTI VAIDYAREDDY U
Assistant United States Attorney
86 Chambers Street, 3° Floor
New York, New York 10007
Telephone No, (212) 637-2751
Facsimile No, (212) 637-2786

Kirti Reddy@usdoj.gov

THE UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES,
OFFICE OF COUNSEL TO TRE INSPECTOR GENERAL

 

Dated: Washington,DC Attorney for OIG-HAS
October (O*, 2016
By: Gd 1 oot M. ‘Co
“ISA M. RE

Assistant Inspector General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector General

U.S, Department of Health and Human Services
Cohen Building

330 Independence Avenue

Washington, DC 20201
Case 7:14-cv-02653-KMK Document 24 Filed 10/26/16 Page 21 of 22

Dated: New York, NY

October £7, 2016

October \"],, 2016

 

Dated femayod ,NY
October 4° 2016

Dated: Poughkeepygr,

HUDSON VALLEY

By:

By:

Title

Attorney for Hudson Valley
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ALFREDO F, MENDEZ, Esq.

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Defendant Hudson Valley

Defendant Hudson Valley

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Title: ¢ ten tory ‘
Case 7:14-cv-02653-KMK Document 24 Filed 10/26/16 Page 22 of 22

 

LATO
Dated: HisHtaNp iNY Relator
October FF”, 2016
ah Mer
i /ABRAHAMSEN

 

Dated: Washington, D.C.
October <7" , 2016

By:

 

Esq,
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WHE HONORABLE KENNETH M, KARAS
United States District Judge 16 j 1g / (

 
